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                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Eastern District
                                                  __________         of of
                                                              District  Virginia
                                                                           __________

                     United States of America                        )
                                v.                                   )
                                                                     )        Case No. 1:24-MJ-434
                  EVERETT CHAD NELSON
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)


                                                  CRIMINAL COMPLAINT
            I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                October 28, 2024               in the city/county of                   Sterling

in the           Eastern            District of          Virginia              , the defendant(s) violated:

                Code Section                                                    Offense Description
18 U.S.C. § 113(a)(4)                                            The defendant did commit assault by beating, striking, and
                                                                 wounding




            This criminal complaint is based on these facts:
           See attached affidavit.



            __________________________________________________________________________

             ✔ Continued on the attached sheet.
             ޭ                                                            __________________________________
                        Reviewed by AUSA/SAUSA                                       Complainant’s signature

             April Russo AUSA
             _____________________________________                       T. Michael Class Jr., Special Agent, FBI
                                                                         _____________________________________
                       Printed name and title                                          Printed name and title
   Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
    telephone                                                                          ic means).
                                                             (specify reliable electronic


              2FWREHU
   Date:
                                                                                                      Judge’s signature

   City and state:      Alexandria, Virginia                                  Hon. William B. Porter, U.S. Magistrate Judge
                                                                                                    Printed name and title
